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Case 3:06-mc-05029-FDB Document1 Filed 12/12/06 Page 1 of 17

 

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61 STAT 642 ,

Andrew Steven: Gray, agent, DEC 1 2 2006

ctual christian lawful man \
re ! CLERK U.S, DISTRICT COURT

c/o: 19916 Old Owen Road, #130 Uy
Monroe [98272] LBY DEP
Washington State es
united states of America

THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF WASHINGTON AT TACOMA

Andrew Steven: Gray, a man, a Private sO
Citizen, Cause nofhS 06 - 4502 }

 

Plaintiff,
Vs. VERIFIED NOTICE OF
Darrel Richard Ellis, Eileen M. Murphy, REMOVAL OF:
Mark A. Chmelewski, Linda D. Childs,
Diana MaeKenzie, Brennen Milloy, MUNICIPAL COURT OF
Scott Ferguson, Rob Leetz, Liz Luce, WASHINGTON FOR CITY OF
Peter D. Teets, Maile Abraham, Debbie CLE ELUM, KITTITAS.
Myers, Charles Glondo, David B. Bowen, COUNTY
Alan A. Crankovich, Perry D. Huston, Cause No.: CR 4817
and all others similarly situated,
Defendant(s)
NOTICE OF REMOVAL

Andrew Steven: Gray, hereby removes cause number CR 4817 from the MUNICIPAL

COURT OF WASHINGTON FOR CITY OF CLE ELUM, KITTITAS COUNTY to United

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{VOR TT AL A 9

06-MC-05029-NTC

AESTERN DISTRICT QF WASHINGTON AT TACCMEA

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Case 3:06-mc-05029-FDB Document1 Filed 12/12/06 Page 2 of 17

States District Court for the Western District of Washington, at Tacoma. The Plaintiff is
authorized to remove the action described above pursuant to Law as articulated at 28 USC
1441(a) and 1441(b), in compliance with the requirements of 28 USC. § 1446. The district
courts of the United States have original jurisdiction in Law as articulated at 28 USC 1330 and
1331, Plaintiff removes the action filed in the MUNICIPAL COURT OF WASHINGTON FOR
CITY OF CLE ELUM, KITTITAS COUNTY cause no. CR 4817.
STATUS OF THE PLAINTIFF

The Plaintiff(s) is established in good faith as a natural citizen /or Inhabitant of The State of
Washington, a Republic established by the adoption and ratification of the Constitution of the
State of Washington November 5, 1878 and “separate legal person” from United States,

prosecuting claims under principles of international Law.

BACKGROUND

Original State Court Action:

On, A civil/criminal action was commenced as cause number CR 4817, filed in the
MUNICIPAL COURT OF WASHINGTON FOR CITY OF CLE ELUM, KITTITAS
COUNTY, at the City of Cle Elum, and entitled CITY OF CLE ELUM, plaintiff v. GRAY,
ANDREW STEVEN, Defendant. A copy of the CLE ELUM MUNICIPAL COURT DOCKET

is attached. See Exhibit “F2”.

A copy of all process, pleadings, and orders served upon the Plaintiff and filed in the state
court action will be attached when Linda D. Childs, Court Administrator/Clerk returns the

documents. A federal court order may be necessary in order to retrieve all documents.

VERIFIED NOTICE OF REMOVAL 2 of 9

 
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Case 3:06-mc-05029-FDB Document1 Filed 12/12/06 Page 3 of 17

SUBSTANTIVE BASIS FOR REMOVAL
Defendant bases this notice of removal on 28 U.S.C. sections 1331, 1332(4), 1603(a) and 28

U.S.C. sections 1441 (civil), 1443 (criminal) and under 18 U.S.C. section 1962. Diversity
between the parties is/is not alleged.

Section 1441 of Title 28 provides that civil actions, brought in state court based on claims
arising under federal law over which the district courts of the United States have original
jurisdiction, may be removed by the defendant to the local district court. 28 U.S.C. sections
1441(a),(b). Section 1331 provides that the district courts have original jurisdiction over all
civil actions “arising under the Constitution, laws or treaties of the United States.” 28 U.S.C.
section 1331. Removal jurisdiction based on a federal question is determined from the
complaint as it exists at the time of the removal. Libhart v. Santa Monica Dairy Co., 592 |.
F.2d 1062, 1065 (9" Cir. 1979). Removal is proper so long as the federal question is
substantial and identifiable, James v. Belloti, 733 F.2d 989, 992 (1" Cir. 1984}. A defendant
in state court thus has the right to remove a case to federal court in the district where the state
court proceedings are pending if the case could have been filed originally in federal court (i.e.,
on federal diversity or federal question grounds). 28 U.S.C. section 1441(b). Where removal is
properly effected, the district court may exercise pendent jurisdiction over state law that “arise
out of a common nucleus of operative fact.” United Mine Workers v. Gibbs, 383 U.S. 715,
725, 86 S.Ct. 1130, 1138, 16 L.Ed.2d 218 (1966) (doctrine of pendent jurisdiction permits
district court to adjudicate factually related state claims),

This is a civil/criminal action over which this Court has original jurisdiction pursuant to the

provisions of 28 U.S.C, 1331, (Defendant’s complaint explicitly states a private civil RICO

VERIFIED NOTICE OF REMOVAL 3 0f 9

 
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Case 3:06-mc-05029-FDB Document1 Filed 12/12/06 Page 4 of 17

claim under 18 U.S.C. sections 1962(b) and (c}. and is following this removal. If sued upon
alone, a federal claim under RICO is removable as with a district court’s original jurisdiction.
Emrich y. Touch Ross & Co., 846 F.2d 1190, 1196 (9™ Cir. 1998). Plaintiff's state law
claims are factually related. As such, this entire case may be properly removed to this court.
See Emrich, 846 F.2d at 1196; United Mine Workers, 383 U.S. at 725, 86 S.Ct. at 1138.
Procedural Requirements for Removal. The procedural requirements for removal have
been met. See 28 U.S.C. section 1446. The defendant received service of this notice for
removal is timely under 28 U.S.C. section 1446(b). Defendant received a copy of a Notice of
Removal filed by Plaintiff in the state court action pursuant to 28 U.S.C. section 1446(d). To
the best of the Plaintiff's Knowledge and belief, no other records or proceedings are filed with
the state court. This notice is certified by the undersigned counsel of the Plaintiff pursuant to

Fed. R.Civ. P.11 and 28 U.S.C. section 1446(a).

JURISDICTION

Jurisdiction founded on the existence of a Federal Question.

This case is a case arises under Article 4, section 4 of the national Constitution As that the
Plaintiff is denied by the Defendant, access to the republican form of government of The State

of Washington as hereinafter more fully appears.

Jurisdiction is founded on diversity of citizenship and amount.

Plaintiff(s) is established in good faith as a corporation and citizen of The State of
Washington, a Republic established by the adoption and ratification of the Constitution of the

State of Washington November 5, 1878 and “separate legal person” from United States, whose

VERIFIED NOTICE OF REMOVAL 4of9

 
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Case 3:06-mc-05029-FDB Document1 Filed 12/12/06 Page 5 of 17

principal domicile and place of business is within the geographical area of the Republic of
Washington.

The Defendant purports to be established by and act of the United States Congress who is
operating business activities within the geographical area of the Republic of the State of
Washington.

The matter in controversy exceeds, exclusive of interest and costs, the sum of fifty thousand
dollars.

GROUNDS FOR REMOVAL

The Plaintiff states that the Plaintiffs removal of cause no.: CR 4817, filed in the

MUNICIPAL COURT OF WASHINGTON FOR CITY OF CLE ELUM, KITTITAS

COUNTY on following grounds:

FEDERAL QUESTIONS:
GROUND A

Based upon the evidence of three or more entities, and two or more published
“constitutions” operating with names incorporating the terms “State” and “Washington”, one of
which claims to have been created by an act of congress, IS THE “State Court” PLAINTIFF
ENTITY THE REPUBLIC ESTABLISHED AND ORDAINED BY THE PEOPLE FOR ‘THE
GOVERNMENT OF WASHINGTON AS GUARANTEED BY ARTICLE IV § 4 OF THE
NATIONAL CONSTITUTION?

GROUND B
Based upon evidence of the plaintiff entity’s published claim that the plaintiff entity in the

“State Court” action is an organization created by act of congress, and declared to be operating

VERIFIED NOTICE OF REMOVAL Sof9

 
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Case 3:06-mc-05029-FDB Document1 Filed 12/12/06 Page 6 of 17

under a different “constitution” than that established and ordained by the People for the
Washington republic November 5, 1878, DOES SUCH ENTITY AND ITS “COURTS” HAVE
STANDING TO BRING AN ACTION AGAINST ANY INHABITANT OF THE
WASHINGTON REPUBLIC OR ANY ORGANIZATION ESTABLISHED OR OPERATED
BY THE PEOPLE WITHIN THE WASHINGTON REPUBLIC ESTABLISHED AND
ORDAINED NOVEMBER 5, 1878?
GROUND C

Based upon the evidence that the courts of general jurisdiction for the Washington republic
as provided in the Washington constitution established and ordained by the People for the
Washington republic on November 5, 1878 as certified by the State Archivist and as published
in the Congressional Record, being “circuit courts”, IS THE “MUNICIPAL COURT”
CAPTIONED IN THE “STATE COURT” PROCESS THE COURTS OF THE REPUBLIC
GUARANTEED TO THE INHABITANTS OF WASHINGTON AT ARTICLE IV § 4 OF
THE NATIONAL CONSTITUTION?

GROUND D

Based upon the evidence that the “MUNICIPAL COURT” purporting to be a “State Court”
denies a party access to the courts unless the party retains an officer of the prosecuting entity as
its “representative” or counsel, CAN SUCH A COURT PROVIDE THE DUE PROCESS OF
LAW PROTECTED BY EFFECTIVE ASSISTANCE OF COUNSEL AS GUARANTEED BY
ARTICLE XIV IN AMENDMENT TO THE NATIONAL CONSTITUTION AND
INCORPORATING EQUAL PROTECTION OF ARTICLE VI IN AMENDMENT

THERETO?

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Case 3:06-mc-05029-FDB Document1 Filed 12/12/06 Page 7 of 17

GROUND E
Based upon the evidence that the inhabitants of the Washington republic established and

ordained November 5, 1878, having no operational republican form of government available at
the state level, DOES THE FEDERAL COURT HAVE A DUTY TO PROVIDE A COURT
OPERATING UNDER A REPUBLICAN FORMAT AS GUARANTEED AT ARTICLE IV §

4 OF THE NATIONAL CONSTITUTION?

DIVERSITY QUESTIONS
GROUND F

Based upon the evidence that the plaintiff entity claims to have been created by an act of
congress, substantively declaring such entity to be a corporation created under the laws of, and
within the venue of the District of Columbia, and Petitioners corporation being created under
the laws of, and within the venue of the Washington republic established and ordained by the
People November 5, 1878, ARE THE PARTIES TO THE ACTION OF DIVERSE
CITIZENSHIP UPON WHICH THE JURISDICTION OF THE FEDERAL COURT MAY BE
INVOKED?

GROUND G

Based upon the evidence that Darrel Richard Ellis, Eileen M. Murphy, Mark A.
Chmelewski, Linda D. Childs, Diana MaeKenzie, Brennen Milloy, Scott Ferguson, Rob Leetz,
Liz Luce, Peter D. Teets, Maile Abraham, Debbie Myers, Charles Glondo, David B. Bowen,
Alan A, Crankovich, Perry D. Huston, and all others similarly situated, are involved in

fraud/official misconduct in cause number CR 4817 from the MUNICIPAL COURT OF

VERIFIED NOTICE OF REMOVAL 7 of 9

 
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Case 3:06-mc-05029-FDB Document1 Filed 12/12/06 Page 8 of 17

WASHINGTON FOR CITY OF CLE ELUM, KITTITAS COUNTY. A verified complaint is

following this removal outlining the fraud and official misconduct.

NOTICE: DUTY OF STATE COURT
The MUNICIPAL COURT OF WASHINGTON FOR CITY OF CLE ELUM, KITTITAS

COUNTY, and the officers thereof, are subject to the duty(s) required in Law as defined at 28
USC 1446(d). The clerk of said court shall effect the removal of its case # CR 4817 to the
United States District Court for the western district of Washington, at Tacoma, and shall

proceed no further unless and until the case is remanded.

POINTS AND AUTHORITIES

“Removal to a federal court halts all further proceedings in state
court, which thereon loses jurisdiction unless and until the case is
remanded.” Styers v. Pico, inc., 223 SE 2nd. 656.

“Upon the filing, and service of a verified petition for removal by
a defendant in a state criminal prosecution the state court loses
jurisdiction over the prosecution and jurisdiction lies only with the
federal court unless and until the case is remanded back to the state
court. Chesimard v, Kuhithau, 370 F. Supp. 473.

“Once removal procedure has been carried out, action in state court
is automatically stayed and any proceedings there prior to federal
remand order are absolutely void, despite subsequent determination
that removal petition was ineffective.” Vendetti v. Schuster, 242 F.
Supp. 746.

WHEREFORE, the state action filed under cause no. CR 4817 filed in the MUNICIPAL
COURT OF WASHINGTON FOR CITY OF CLE ELUM, KITTITAS COUNTY is hereby

removed to the United States District Court for the Western District of Washington, at Tacoma.

Further Andrew Steven: Gray sayeth not.

VERIFIED NOTICE OF REMOVAL 8 of 9

 
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Case 3:06-mc-05029-FDB Document1 Filed 12/12/06 Page 9 of 17

ton,
specifically, Andrew Steven: Gray,
NOT AN ACCOMMODATION Sui juris.

 

 

GRAY, ANDREW STEVEN

 

 

 

JURAT
As a Notary Public in witness whereof, /s/ Donald Theodore Grahn, attests to the following:

united State of America )

The State of Washington ):ss ATTESTATION
County of King )

In Witness whereof, I affirm and set my hand and seal on this 11% day of December, A. D.
in the year of our Lord two thousand and Six, before me, Donald Theodore Grahn, the
undersigned Notary Public in and for the State of Washington, appeared Andrew Steven: Gray,
personally known to me or proved to me on the basis of satisfactory evidence, to be the person

whose signature appears in the within ins acknowledged to me that he executed it.

  

 

My commission expires

Mailing address:

c/o: 12345 Lake City Way North East, #133
Seattle, [98125]

Washington

Seal Notice

Donald dore Grahn
ot ublic- Washington
"alivfic

 

Using a notary on this document does not constitute any adhesion, nor does it alter My
status in any manner, The purpose for notary is verification and identification only and
not for entrance into any foreign jurisdiction

  

 

Andrew Steven: Gray, Agent,
Actual christian lawful Man, injured party,
Inhabitant on the land, Sui Juris.

VERIFIED NOTICE OF REMOVAL 9 of 9

 
"Gaga 3i06tinc- 05029-FDB Document 1 Filed 12/12/06 Page 10 of 17 a

ar : “Exhibit “F2”

—Dp7e20SK Loc CLE ELUM MUNICIPAL COURT PAGE:
11/27/2006 3:48 Pie. Dacre ET
. CASE: Coccuasi? ur
DEFENDANT , Ca.iminat Tang hic
GRAY, ANDREW STEVEN - Agency Na. OG BIAS
19975 OLD OWEN RD # 730
MONROE WA 98272-9778 Home Phone: 2062571070

Work Phone: 4258069596

. AKA RUSSEL, BENTAMINE ISSAC

AKA AUSTIN, STRYDER DEAN

OFFICER

Q0224 CPL LEETZ, ROBERT W
CHARGES
Viohation Date: 09/04/2006 DV Plea Fand ira
1 46.270.342.1C DWLS 38RD DEGREE N Not Guiéty
TEXT .

S$ 09/05/2006 Case Febed on 09/05/2006 . i
09/06/2006 DEF 1 GRAY, ANDREW STEVEN Added as Paitiocédpant
OFF { LEETZ, ROBERT W Added a4 Participant

 

 

ARR -N Set Horr COT HIF 2008 09700 AM : ae
, i Room 7 witty Judge DRE NA
if AFFIDAVIT FILED BY OFFICER
DEF PHONED FOR INFO, WANTED TO KNOW TF WE ARE A COURT OF
RECORD, ADV VES, WILL RESET ARR TO 9/25/06
a. - ARR Al Rescheduled 4o 09/24/2006 09:00 AM
. in Room 1 with Judge DRE
u DEF PHONED, ASKED NUMEROUS QUESTIONS, ADV PROS ATY NAMi ANL
NUMBER, ALSO WANTED EMPLOVEE ID NUMBERS, ADV NOT GIVEN OT
HE WILL CALL AUBITOR’S OFFICE AND OBTAIN .
09/25/2006 Defendant Arraigned on Charge f
JUDGE DARREL R ELLIS
10:07:37
DEFENDANT PRESENT
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DEF ASKED IF ENTTITLED TO BE ADVISED OF CHARGE, RIGHTS
DEF ASKED WHAT ARE CONSEQUENCES IF DOES NOT RECEIVE A FAIR

& ta

TRIAL

DEF CONTINUED TO QUESTION TUDCGE RE: FAIR TRIAL, JURISDICTION
OF DEF

JUDGE ORDERED DEF TO BE QUITE OR WILL BE HELD IN CONTEMPT

OF. COURT. .

DEF ASKED IF JUDGE IS PROSECUTOR

DEF MOVED TO DIMISS, NOT PROSECUTING ATHORITY

JUDGE EXPLAINED ENTRY OF PLEA

TUDGE ADV MAXIMUM PENALTY OF S?100G FINE, 90 DAYS JAIL, DET
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JUDGE ADV WILL ENTER NOT GUILTY PLEA ON BEHALF OF DEF
DEF ARGUED JUDGE IS NOT REPRESENTING HIM
COURT ENTERED NOT GUILTY PLEA

Docket continued on next page. wis
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‘DD70208X LDC CLE ELUM MUNICIPAL COURT . PAC:

17/27/2005 3:48 PM POCKET
CASE: CONO004 8 I? i.
DEPENDANT Cadminad Tania
GRAY, ANDREW STEVEN . Agency Na. O8- 2745

TEXT ~ Carttrtrecd
S 09/25/2006 Plea/Reaponse of Not Guiéty Entered on Charge 7 | i

if ‘DEF ADV CANNOT FIND ATY W/O CONFLICT WITH COURT
COURT APPQINTED ATTORNEY REQUESTED,
3 PTR Set for 77/08/2006 09:00 AM-

44 Rogm 7 with Judge DRE
PTR an 17/08/2006 OF:00 AM
Changed ta Room 7 with Judge EMM

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5 56277700029 Miscellaneous Payment Received 1.06
tox COPY /TAPE FEES

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OF PROTEST AND DISHONOR FROM DEF GRAY - PLACED IN FILE Fulmer
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DEF CAME IN, SUBMITTED REQ FOR COPY OF AUDIO RECORDINGS R

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09/26/2006 Notiee Iatued fox PrR-an 17/08/2006 09:00 AM |
i LETTER Ta DEF, ADV SF PROVIDE COURT WITH DETAILS OF INGGME
a AND -EXPEN FI—OF -INDEGENCY Wefhie BE-BETERM NEL -

ADV DEF 810 COPY/TAPE FEE BEING REFUNDED AS COURT UNABLE 7?
PROVIDE COPY OF RECORDINGS FROM 9/285 HEARING DUE TO A
MALFUNCTION WITH THE COURT’S RECORDING SYSTEM
**wEit NEED TO WAIT UNTIL 9/28 TO ISSUE REFUND DUE TO
CUTOFF DATE®*
09/27/2006 PAPERWORK FILED BY PROSECUTOR

5 99/28/2006 6271100029 COPY/TAPE FEES Adjusted -tu Oe E
Authoadized by: DMM
G6Z27Z100029 Appearance Batl Posted faa DEF f 1.00
Posted by: GRAY, ANDREW STEVEN
Appeazance Bai Merzked Payabée . 70.00
Court Chk Reh 647 for Bail Regund Te
to Payee: GRAY, ANOREW STEVEN
u ***REFUNED CD FEE PER JUDGE ELLIS
10/02/2006 REFUSED FOR FRAUD FOREEIGN TO YOUR JURISDICTION NUC PRO THANG

FILED
10/04/2006 REQUEST FOR PRETRIAL TQ BE RESCHEDULED TO JANUARY 3, 2006
RECEIVED, UP FOR JUDGE TO .REVIEW
10/06/2006 JUDGES OATH CONTRACT FILEO, UP FOR TUDGE TO REVIEW |
foyv7T1/2006 NOTICE TQ PRINCIPAL TS NOTICE TO AGENT AND NOTICE TO AGENT Ts
NOTICE TO PRINCIPAL FILED
10/12/2006 COPY OF PUBLIC OISCLOSURE REQUEST FOR INFORMATION RECEIVCD *
FROM CEPD REGARDING, NAME OF CHIEF, NO CAPTAIN _ |
10/30/2006 NOTICE OF PREJUDICE, APPEARANCE OF FAIRNESS, AFFIDAVIT OF i
FACTS AND FIRST HAND KNOWLEDGE OF ANDREW S GRAY, AND
AFFIDAVIT OF FACTS AND FIRST HAND KNOWLEOGE OF JTENNTFER
PETERSON FILED
OFFICIAL MESCONDUCT-OR_BARRATRY BY ADDED PARTICIPANTS ANT
SUMMONS IN A GIVIL CASE FILED
raf31f/2006 NOTICE AND CLAIM OF CONSTITUTIONAL RIGHTS THE PRESIDING -TUDGT
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DO70208K LDC CLE ELUM MUNICIPAL COURT PAGE:

i7/27/2006 3:48 PM DOCKET
CASE; CoOoOQd04 a Tf CIF
DEFENDANT Criminal Trad eirs
GRAY, ANDREW STEVEN Agency No. Of-P7a3

TEXT - Continued
Ueotff/03/2006 NOTICE OF FAULT AND OPPORTUNITY TO CURE FILED
11/08/2006 JUDICIAL NOTICE TO COURT THAT PLAINTIFF FAILED TO ANSWER JHE

FIRST REQUEST FOR DEPOSITIONS, ADMISSIONS AND THE SECOND
REQUEST FOR DEPOSITIONS, ADMISSIONS AND DISCOVERY FILES
BY DEFENDANT
PRE TRIAL CONFERENCE BEFORE JUDGE PRO TEM MURPHY
PROSECUTOR CHMELEWSKI
NOTICE OF DEFAULT AND NOTICE OF NON RESPONSE OF INTERNAT TONS.
COMMERCIAL CLAIM AND ADMINISTRATIVE REMEDY FILED
70:27:57 DEFENDANT PRESENT.
PROSECUTOR REQUESTS TRIAL DATE, NO_ AGREEMENT ON MATTER

5 OTH STAT Set fox 2013/4006. 09: 03 AM
in Raom 7 with Judge DR
JTR Set 402 12/14/2006 O9:00 AM
in Room 1 wtth Judge DRE

if DEFENDANT QUESTIONS JUDGE ABOUT ANY EVIDENCE. ‘ENTERED INTO
CASE.

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i$ 17/09/2006 COPY OF CD FROM 11/8/06 HEARING MAILED TO DEFENDANT
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in Room 1 with Judge DRE CanteZed
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tn. Room 7 with Judge EMM
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4n Room 1 wlth Judge EMM
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17/1713/2006 JTR on 12/74/2006 09:00 AM.
én Room 1 with Judge DRE CanceZed
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oo. , Nation I4eaued 402 JTR on, 1a/74/2006 09:00 AM
“ots Ts/2006 SUBPOENA FOR FURY TRIAL FILED
PLAINTIFFS DEMAND FOR DISCOVERY FILED
11/20/2006 APFIDAVIT OF SPECIFIC NEGATIVE AVERMENT AND ANSWER TO
PLAINTIFF'S DEMAND FOR DISCOVERY FILED ;
wn AWE REQUEST. FOR PUBLIC DISCLOSURE FILED Sine ced
11/27/2006 DEF PHONED, MAKING INQUIRY ABOUT COURT NOT RETURNING PAPER
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ADVISED W/ORDER. AND FAX HOPEFULLY TODAY

 

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Docket continued on next page #y
INEFENDAANT

“12,17 22 Cas623-064iic-05029-FDB Document1 Filed 12/12/06 Page 13 of 17 Petey

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27/2006 3:48 PM DOCKET

Criminal Taahd ic

GRAY, ANDREW STEVEN Agency No. O%-2/ 4

ACCOUNTING SUMMARY

Total Due | Pata Comat tenet
Timepay: WN 10.0¢ 7?.00

ADDITIONAL CASE DATA

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Parsanat Deaceipa.ton ,
Sex: A Race: wW DOB: O1/07/%977
Da.Lic.No.: GRAY*AS2392RG State: WA Expéned: 207C
Employer: EAGLE SERVICES . .
Heigha: G 1 Weight: 760 Eyes: BLU: Hains BRO

Heciaieg Summary

Held ARRAINGMENTF ON 09/25/2006 AT O9:00 AM IN ROOM Tf eT
Heed PRE TRIAL ON 17/08/2006 AT G9:00 AM IN ROOM Tf WET
Schedule TURY TRIAL STATUS ON (2/73/2006 AT G9:03 AM IN ROOM 7 tT te!

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Case 3:06-mc-05029-FDB Document 1 Filed 12/12/06 Page 14 of 17

 

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61 STAT 642
BILL OF LADING .
Date: September 12", 2006

Cargo is From: Deliver Cargo To:
Andrew Steven: Gray, agent, actual Bruce Rifkin, Clerk of Court
Christian lawful man, inhabitant United States District Court Clerk
resting on the soil, Sui Juris, United States District Court
c/o:19916 Old Owen Road, #130 Western District of Washington
Monroe [98272] Tacoma Division
Washington State 1717 Pacific Avenue
united states of America Tacoma, WA 98402

This cargo consists of the following documents

for Case Number: & °

1. VERIFIED NOTICE OF REMOVAL OF MUNICIPAL COURT OF
WASHINGTON FOR CITY OF CLE ELUM, KITTITAS COUNTY, Cause No.: CR
4817

2. Exhibit “F2”, CLE ELUM MUNICIPAL COURT DOCKET.

Delivery instructions:

Bruce Rifkin, These documents are to be delivered into Admiralty Jurisdiction Venue with a
THREE JUDGE ARTICLE II COURT HEARING DEMANDED of The United States
District Court, Western District of Washington, Tacoma Division.

Seal
Andrew Steven: Gray, agent, Actual christian Man,
Inhabitant resting on the soil, Sui Juris

 

Andrew Steven: Gray, agent, actual christian lawful man,
Inhabitant resting on the soil of the state of Washington, united states of America.
Case 3:06-mc-05029-FDB Document1 Filed 12/12/06 Page 15 of 17

 

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BILL OF LADING

Date: September 12", 2006

Cargo is From: Deliver Cargo To:
Andrew Steven: Gray, agent, actual Bruce Rifkin, Clerk of Court
Christian lawful man, inhabitant United States District Court Clerk
resting on the soil, Sui Juris, United States District Court
c/o:19916 Old Owen Road, #130 Western District of Washington
Monroe [98272] Tacoma Division
Washington State 1717 Pacific Avenue
united states of America Tacoma, WA 98402

This cargo consists of the following documents

for Case Number: MAS 06 ° GOaF

1. VERIFIED NOTICE OF REMOVAL OF MUNICIPAL COURT OF
WASHINGTON FOR CITY OF CLE ELUM, KITTITAS COUNTY, Cause No.: CR
4817

2. Exhibit “F2”, CLE ELUM MUNICIPAL COURT DOCKET.

Delivery instructions:

Bruce Rifkin, These documents are to be delivered into Admiralty Jurisdiction Venue with a
THREE JUDGE ARTICLE IIIT COURT HEARING DEMANDED of The United States
District Court, Western District of Washington, Tacoma Division.

__ Seal
Andrew Steven: Gray, agent, Actual christian Man,
Inhabitant resting on the soil, Sui Juris

Andrew Steven: Gray, agent, actual christian lawful man,
Inhabitant resting on the soil of the state of Washington, united states of America.
Case 3:06-mc-05029-FDB Document1 Filed 12/12/06 Page 16 of 17

 

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BILL OF LADING
Date: September 12", 2006
Cargo is From: Deliver Cargo To:
Andrew Steven: Gray, agent, actual Bruce Rifkin, Clerk of Court
Christian lawful man, inhabitant United States District Court Clerk
resting on the soil, Sui Juris, United States District Court
c/0:19916 Old Owen Road, #130 Western District of Washington
Monroe [98272] Tacoma Division
Washington State 1717 Pacific Avenue
united states of America Tacoma, WA 98402

This cargo consists of the following documents

for Case Number: - - G

1. VERIFIED NOTICE OF REMOVAL OF MUNICIPAL COURT OF
WASHINGTON FOR CITY OF CLE ELUM, KITTITAS COUNTY, Cause No.: CR
4817

2. Exhibit “F2”, CLE ELUM MUNICIPAL COURT DOCKET.

Delivery instructions:

Bruce Rifkin, These documents are to be delivered into Admiralty Jurisdiction Venue with a
THREE JUDGE ARTICLE III COURT HEARING DEMANDED of The United States
District Court, Western District of Washington, Tacoma Division.

Seal
Andrew Steven: Gray, agent, Actual christian Man,
Inhabitant resting on the soil, Sui Juris

 

Andrew Steven: Gray, agent, actual christian lawful man,
Inhahbitant resting on the soil of the state of Washington, united states af America,
Case 3:06-mc-05029-FDB Document1i Filed 12/12/06 Page 17 of 17

 

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BILL OF LADING

Date: September 12", 2006

Cargo is From: Deliver Cargo To:
Andrew Steven: Gray, agent, actual Bruce Rifkin, Clerk of Court
Christian lawful man, inhabitant United States District Court Clerk
resting on the soil, Sui Juris, United States District Court
¢/0:19916 Old Owen Road, #130 Western District of Washington
Monroe [98272] Tacoma Division
Washington State 1717 Pacific Avenue
united states of America Tacoma, WA 98402

This cargo consists of the following documents

1. VERIFIED NOTICE OF REMOVAL OF MUNICIPAL COURT OF
WASHINGTON FOR CITY OF CLE ELUM, KITTITAS COUNTY, Cause No.: CR -
4817

2. Exhibit “F2”, CLE ELUM MUNICIPAL COURT DOCKET.

Delivery instructions:

Bruce Ritkin, These documents are to be delivered into Admiralty Jurisdiction Venue with a
THREE JUDGE ARTICLE UI COURT HEARING DEMANDED of The United States
District Court, Western District of Washington, Tacoma Division.

Seal
Andrew Steven: Gray, agent, Actual christian Man,
Inhabitant resting on the soil, Sui Juris

 

Andrew Steven: Gray, agent, actual christian lawfu) man,
Inhabitant resting on the soil of the state of Washington, united states of America.
